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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )         No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

               JOINT SUPPLEMENT TO SEPTEMBER 10, 2019 REPORT

       On August 28, 2019, the Court ordered the parties to confer and report on a proposed

schedule for futher briefing concerning the issues on which the Court expressed its tentative views

during the August 27, 2019 hearing. ECF No. 366. The Court also ordered the parties to confer

and report on: (1) whether ICE is or should be allowed to remove from the United States any class

member subject to the July 26, 2019 Order (ECF No. 307) who is released by ICE; and (2) whether

Respondents should be allowed to obtain discovery from Petitioners and, if so, the nature of such

discovery.

       The Court also ordered that class counsel provide ICE Boston with “any documents,

information, and arguments in support of the release of the sevel class members who are the subject

of petitioners’ Motion to Show Cause (Docket No. 304)” by September 12. ECF No. 366. The

Court further ordered that ICE Boston “decide whether to continue the detention of each of them

or to release them on appropriate conditions” by September 19, 2019. Id. At the hearing on August

28, ICE Boston acting field office director Marcos Charles confirmed to the Court that ICE Boston
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would review the submissions “de novo, with an open mind, starting from scratch, and decide

whether it’s appropriate to release them.” Aug. 27, 2019 Hr’g Tr. at 19:1-8.

       On September 10, 2019, the parties submitted a status report. Regarding the schedule for

briefing, the parties proposed that they “confer and report to the Court by September 24, 2019,

whether they have resolved any of the issues identified by the Court or whether they want to submit

further briefing on those issues.” Regarding the potential removal of detained class members, the

parties also proposed that they “meet and confer further on this issue after ICE Boston decides

whether to release any of the class members currently before the Court and report to the Court on

September 24, 2019.” The parties provided their positions regarding discovery.

       Petitioners or the counsel of the detained individuals provided ICE Boston with documents

in support of the release of each of the seven detained individuals by September 12. On September

19, ICE Boston informed Petitioners that it had decided not to release any of the detained

individuals.

       The parties have met and conferred and report as follows:

       1.      Schedule for Briefing: The parties have not been able to resolve and/or narrow the

issues presented in Petitioners’ motion for order to show cause. ECF No. 305. Accordingly, the

parties propose they brief the outstanding issues currently before the Court in accordance with the

parties’ September 10, 2019 Joint Report. ECF No. 373. Specifically, Respondents will submit

supplemental briefing with regard to Petitioners’ motion for order to show cause by October 1,

2019, and Petitioners will respond by October 8, 2019. The parties propose that a hearing on the

legal questions be held the week of October 15, and that any bail hearings be held the week of

October 21, 2019. Based upon other unavoidable conflicts pertaining to the availability of counsel,

Respondents request, to the extent it fits within the Court’s schedule, that the Court not schedule



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hearings on either October 18, 2019, or October 25, 2019. The parties will update the Court if they

reach a resolution regarding any of the remaining detainees’ claims.

       2.      Potential Removal of Detained Class Members Released by ICE: Because ICE

Boston decided not to release any of the detained individuals before the Court, this issue need not

be resolved at this time.

       3. Discovery:

               a. Respondents’ Position: Respondents maintain that they are entitled to conduct

                   discovery regarding the allegations in Petitioners’ complaint and the various

                   declarations submitted in this case in accordance with Rule 26. See ECF No.

                   319 at 4 (arguing that if discovery is appropriate, it should be bilateral

                   discovery). Despite contending throughout this litigation that this case should

                   proceed as any other civil case under Rule 26, Petitioners assert that

                   Respondents are entitled to no discovery. However, Petitioners cannot have it

                   both ways. Discovery under Rule 26 is a two-way street and Petitioners cite no

                   authority for their argument to the contrary. Additionally, discovery from

                   Petitioners is relevant to the claims and defenses presented in this case.

                   Petitioners’ principal claim is that Respondents are unlawfully interfering in a

                   process for which they allege they are eligible to pursue. Therefore, discovery

                   into whether Petitioners’ are indeed eligible and diligently pursuing that process

                   is directly relevant and proportional to the needs of the case and to Petitioner’s

                   claims. The named Petitioners and other class members have also submitted

                   various declarations in this case alleging that Respondents’ actions have caused

                   harm and Respondents are entitled to test those allegations and discover the



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       nature and extent of the harm and damages that Petitioners’ claim to have

       suffered and/or incurred. Finally, contrary to Petitioner’s assertions,

       Respondents have not waived their right under Rule 26 to conduct discovery.

       In the parties Rule 26(f) report, the parties – not only the Petitioners – agreed

       on the scope of discovery. ECF No. 357 at 8. Respondents are not obligated in

       a Rule 26(f) report to reveal their strategy to collect information about

       Petitioners’ claims. Rather, it is Petitioners’ burden to affirmatively assert in the

       Rule 26(f) report that there should be an exception to the general rule that

       Respondents in a civil action are entitled to discovery. Accordingly,

       Respondents request that this Court order that Respondents are entitled to

       discovery from Petitioners.

    b. Petitioners’ Position: Respondents have repeatedly argued that discovery was

       unnecessary, and have apparently changed their position only as a tactic to gain

       leverage now that discovery has begun. See, e.g., ECF 158 at 5 (Sept. 12, 2018)

       (“Respondents’ Statement: . . . Respondents oppose any request by Petitioners

       to conduct further discovery as unnecessary to resolve the purely legal issues

       presented in the motion for summary judgment and because extensive expedited

       discovery has already been conducted.”); ECF 162 at 6 (Oct. 3, 2018)

       (“Respondents’ Statement: . . . Respondents oppose any additional discovery in

       this case because discovery is not necessary to decide the merits of Petitioners’

       claims . . . .”); Oct. 9, 2018 Hr’g Tr. at 16 (“MS. LARAKERS: . . . I think the

       respondents’ position is that there is no fact in dispute, there are no facts in

       dispute in this case, that it is a purely legal issue that can be briefed immediately



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       on summary judgment.”); ECF 240 at 1 (Apr. 30, 2019) (“[A]dditional factual

       development will not further demonstrate that Petitioners are entitled to the

       relief they seek.”); ECF 247 at 2-4 (May 8, 2019) (arguing that Petitioners had

       not shown good cause for discovery on habeas claims, that discovery was

       inappropriate for Administrative Procedure Act claims, and that—to the extent

       the Court ordered discovery—the parties should be provided with time to confer

       and provide an “updated report and discovery plan no later than 31 days after

       the Court’s order”); May 16, 2019 Hr’g Tr. at 47:11-17 (“We think there’s an

       ample amount of evidence already available to this court and to the petitioners

       that we do intend to supplement with the certified administrative record and that

       it may be that after folks have seen it, there’s no need to supplement the record,

       for which the burden and expense of going through discovery may be

       unnecessary.”). Notwithstanding their repeated assertions denying the need for

       discovery—counteracted only by a bare mention of possible bilateral APA

       discovery now relied on by the Respondents, see ECF 319 at 4—Respondents

       had the opportunity to confer about discovery in conjunction with the filing of

       a Rule 26(f) report. It was particularly important for Respondents to raise the

       need for bilateral discovery at that point because they had continually

       disavowed the need for discovery and because bilateral discovery is not the

       norm in immigration cases that turn only on the legality of the government’s

       conduct (for example, Gordon v. Napolitano, 13-cv-30146-PBS, Lunn v. Smith,

       17-10938, and Reid v. Donelan, 13-cv-30125-PBS, are all cases in which the

       government has provided but not requested discovery). It was also required



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       that Respondents “participate in good faith” in the Rule 26(f) process in order

       to formulate a discovery plan, on penalty of sanctions. See Fed. R. Civ. P. 37(f).

       Having failed to make any mention that they would be seeking discovery in

       conferring about or in the Rule 26(f) report, Respondents have waived their

       opportunity to do so. Respondents have also not conferred with Petitioners

       about any specific discovery they seek. Respondents continue to fail to identify

       any requested discovery that is relevant to any claim or defense. They say they

       will seek discovery into “whether Petitioners’ [sic] are indeed eligible and

       diligently pursuing” the provisional waiver process and into the allegations

       “that Respondents’ actions have caused harm.” The first issue depends on

       information Respondents already have—i.e., the applications submitted to

       USCIS. Further, the issue of eligibility and pursuit of the provisional waiver

       process was decided at class certification, when this Court found Petitioners to

       be adequate class representatives. See ECF 253 at ¶ 2. Indeed, Respondents

       never contested it then, nor sought discovery regarding it. See ECF 172 (Oct.

       15, 2019 Status Report) at 5 (“Respondents agree that no precertification

       discovery is necessary.”). As for the second issue, Respondents concede that

       family separation causes harm.      Aug. 20, 2018 Hr’g Tr. 60:17-19 (“And

       certainly I also understand that there is harm, that when families are separated,

       there is inherent harm in that.”). And they have never argued that facts in

       Petitioners’ possession would be relevant to any contested aspect of harm. See

       ECF 78 (Resps. Mem. in Opp. to Pets. Mot. for P.I.) at 28-29 (failing to raise

       any argument regarding irreparable harm); ECF 134 (Respondents’ Supp.



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             Mem. in Opp. to Pets.’ P.I. and Class Cert.) at 8-9 (arguing that Petitioners

             could not show irreparable harm in part because “ICE Boston released many

             aliens whose POCR was not properly conducted”).

      Respectfully submitted this 24th day of September, 2019.

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